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                                     UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF NORTH CAROLINA

IN RE:
   SHIRLENE HUNTER                                                 CASE NO. 20-10504
   209 DOGWOOD CIRCLE                                              JUDGE BENJAMIN A. KAHN
   HIGH POINT, NC 27260

               DEBTOR

   SSN(1) XXX-XX-2366                                              DATE: 01/28/2021


                                             REPORT OF FILED CLAIMS

     Pursuant to 11 U.S.C. §704(5), the trustee has examined the proofs of claims filed in this case and objected to the
allowance of such claims as appeared to be improper except where no purpose would have been served by such
objection. After such examination and objections, if any, the trustee states that claims should be deemed allowed or “not
filed” as indicated below.

NAME & ADDRESS OF CREDITOR                                      AMOUNT      CLASSIFICATION
BANK OF AMERICA                                                $4,761.12    (U) UNSECURED
P O BOX 15102                                                 INT: .00%
WILMINGTON, DE 19886-5102                                NAME ID: 63803     ACCT: 1420
                                                          CLAIM #: 0010     COMMENT:
CONE HEALTH                                                       $0.00     (U) UNSECURED
BANKRUPTCY DEPARTMENT                                        INT: .00%      NOT FILED
1200 N ELM ST                                          NAME ID: 157469      ACCT: 6943
GREENSBORO, NC 27401                                     CLAIM #: 0011      COMMENT:
GUILFORD CO REGISTER OF DEEDS                                    $52.00     (Z) SPECIAL COST ITEM
P O BOX 3427                                                  INT: .00%
GREENSBORO, NC 27402                                      NAME ID: 1159     ACCT:
                                                          CLAIM #: 0013     COMMENT:
GUILFORD CO TAX DEPT                                               $0.00    (P) PRIORITY
P O BOX 3328                                                  INT: .00%     NOT FILED
GREENSBORO, NC 27402                                     NAME ID: 10590     ACCT:
                                                          CLAIM #: 0001     COMMENT: OC
INTERNAL REVENUE SERVICE                                      $1,492.08     (P) PRIORITY
P O BOX 7317                                                 INT: .00%
PHILADELPHIA, PA 19101-7317                            NAME ID: 123769      ACCT: 19TX
                                                         CLAIM #: 0002      COMMENT: OC,720A, 720A
INTERNAL REVENUE SERVICE                                      $5,011.77     (U) UNSECURED
P O BOX 7317                                                 INT: .00%
PHILADELPHIA, PA 19101-7317                            NAME ID: 123769      ACCT: &PEN
                                                         CLAIM #: 0012      COMMENT: 720A, 720A
N C DEPARTMENT OF REVENUE                                       $262.00     (P) PRIORITY
BANKRUPTCY UNIT                                               INT: .00%
P O BOX 1168                                              NAME ID: 9699     ACCT: 19TX
RALEIGH, NC 27602-1168                                    CLAIM #: 0003     COMMENT: OC
ONEMAIN                                                       $4,200.00     (V) VEHICLE-SECURED
P O BOX 3251                                                INT: 5.25%
EVANSVILLE, IN 47731                                   NAME ID: 161576      ACCT: 9645
                                                         CLAIM #: 0008      COMMENT: 07CADI,620A
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NAME & ADDRESS OF CREDITOR                          AMOUNT       CLASSIFICATION
ONEMAIN                                             $2,385.84    (U) UNSECURED
P O BOX 3251                                       INT: .00%
EVANSVILLE, IN 47731                         NAME ID: 161576     ACCT: 9645
                                               CLAIM #: 0009     COMMENT: SPLIT, 620A
P O BOX 94982                                           $0.00    (S) SECURED
P O BOX 94982                                      INT: .00%     AMENDED
CLEVELAND, OH 44101                          NAME ID: 182736     ACCT: 5330
                                               CLAIM #: 0014     COMMENT: 920C/WDRN
PINNACLE SERVICE SOLUTIONS LLC                        $884.66    (U) UNSECURED
4408 MILESTRIP RD #247                             INT: .00%
BLASDELL, NY 14219                           NAME ID: 178606     ACCT: 0722
                                               CLAIM #: 0015     COMMENT:
PNC BANK                                           $26,474.15    (V) VEHICLE-SECURED
P O BOX 94982                                     INT: 5.25%
CLEVELAND, OH 44101                          NAME ID: 115010     ACCT: 5330
                                               CLAIM #: 0007     COMMENT: 19KIA
STATE EMPLOYEES CREDIT UNION            MONTHLY PMT $952.00      (H) ONGOING-SECURED
BANKRUPTCY DEPT                                   INT: .00%
P O BOX 25279                               NAME ID: 128771      ACCT: 5890
RALEIGH, NC 27611                             CLAIM #: 0004      COMMENT: DT,RE RP,CTD,EFF SEPT20
STATE EMPLOYEES CREDIT UNION                        $1,904.00    (H1) POST-PETITION ARREARAGE-SECURED
BANKRUPTCY DEPT                                    INT: .00%
P O BOX 25279                                NAME ID: 128771     ACCT: 5890
RALEIGH, NC 27611                              CLAIM #: 0005     COMMENT: ARR,JUL THRU AUG20
STATE EMPLOYEES CREDIT UNION                       $12,361.21    (H3) PRE-PETITION ARREARAGE-SECURED
BANKRUPTCY DEPT                                    INT: .00%
P O BOX 25279                                NAME ID: 128771     ACCT: 5890
RALEIGH, NC 27611                              CLAIM #: 0006     COMMENT: ARR THRU JUN20

TOTAL:                                              $60,740.83
TOMMY S BLALOCK III ESQ                             $4,200.00    ATTORNEY FEE
BLALOCK LAW OFFICES PA
620 GREEN VALLEY RD STE 209
GREENSBORO, NC 27408



                                                                 ANITA JO KINLAW TROXLER,
                                                                 TRUSTEE
                                                                 500 W FRIENDLY AVE STE 200
                                                                 P O BOX 1720
                                                                 GREENSBORO, NC 27402-1720
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                                NOTICE OF FILING OF REPORT OF FILED CLAIMS

    The foregoing Report of Filed Claims has been filed with the Bankruptcy Court based on an audit of claims filed in
the Trustee’s office. The claims are allowed unless objection is made by the Debtor or other party in interest.

    Any objection to a claim should be filed in writing with the Bankruptcy Court at the address below and a copy must
be served on the Trustee:

                                      Clerk, U.S. Bankruptcy Court
                                      101 S. Edgeworth Street
                                      P.O. Box 26100
                                      Greensboro, NC 27420-6100

    If an objection is filed, a hearing will be scheduled before the Court.       The Trustee will continue making
disbursements on the claims unless an objection is filed.




Date: 01/28/2021                                                      OFFICE OF THE CHAPTER 13 TRUSTEE

                                                                 By: /s/ Gayle McFarland
                                                                     Clerk
                                                                     Chapter 13 Office
                                                                     500 W FRIENDLY AVE STE 200
                                                                     P O BOX 1720
                                                                     GREENSBORO, NC 27402-1720

cc: Debtor
    Attorney for Debtor - Electronic Notice
